  Case 19-10785-KHK                      Doc 5 Filed 03/16/19 Entered 03/17/19 00:32:14                                  Desc Imaged
                                              Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Ho Joon Kye                                                       Social Security number or ITIN        xxx−xx−1838
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 3/13/19
Case number:          19−10785−KHK


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Ho Joon Kye

2.     All other names used in the
       last 8 years

3.     Address                               12605 Pinecrest Rd
                                             Herndon, VA 20171

4.     Debtor's attorney                     Wayne P. Yessler                                       Contact phone (703) 470−3170
       Name and address                      9255 Center St. Suite 403                              Email: wpylaw@peoplepc.com
                                             Manassas, VA 20110

5.     Bankruptcy trustee                    H. Jason Gold                                          Contact phone (202) 712−2800
       Name and address                      Nelson Mullins Riley & Scarborough LLP                 Email:
                                             101 Constitution Avenue, N.W.                          jason.gold@nelsonmullins.com
                                             Suite 900
                                             Washington, DC 20001
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
  Case 19-10785-KHK                      Doc 5 Filed 03/16/19 Entered 03/17/19 00:32:14                                  Desc Imaged
                                              Certificate of Notice Page 2 of 4
Debtor Ho Joon Kye                                                                                            Case number 19−10785−KHK


6. Bankruptcy clerk's office                     200 South Washington Street                            For the Court:
                                                 Alexandria, VA 22314
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: March 14, 2019
    www.pacer.gov.                         Contact phone 703−258−1200
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          April 22, 2019 at 09:00 AM                             Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         1725 Duke Street, Suite 520,
    questioned under oath. In a joint case,                                                             Alexandria, VA 22314
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: June 21, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
  Case 19-10785-KHK                   Doc 5 Filed 03/16/19 Entered 03/17/19 00:32:14                                      Desc Imaged
                                           Certificate of Notice Page 3 of 4
Debtor Ho Joon Kye                                                                                             Case number 19−10785−KHK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of December 16, 2013, for payment of fees and services.
    Alexandria Case and                Payment may be made by non−debtor's check, money order, cashier's check made payable
    Adversary Filing and               to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's credit card.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline           page 3
        Case 19-10785-KHK               Doc 5 Filed 03/16/19 Entered 03/17/19 00:32:14                              Desc Imaged
                                             Certificate of Notice Page 4 of 4
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 19-10785-KHK
Ho Joon Kye                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: douglasse                    Page 1 of 1                          Date Rcvd: Mar 14, 2019
                                      Form ID: 309A                      Total Noticed: 18


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 16, 2019.
db             +Ho Joon Kye,   12605 Pinecrest Rd,    Herndon, VA 20171-2610
14759798       +Chase Home Finance LLC,   PO 24696,    Columbus, OH 43224-0696
14759801       +Seterus Inc,   14523 SW Millikan Way,    Suite 200,   Beaverton, OR 97005-2352
14759807       +Wayne P. Yessler, Esq.,   9210 Lee Avenue,    Manassas, VA 20110-5513

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: wpylaw@peoplepc.com Mar 15 2019 04:00:12       Wayne P. Yessler,
                 9255 Center St. Suite 403,    Manassas, VA 20110
tr             +EDI: FHJGOLD.COM Mar 15 2019 07:23:00      H. Jason Gold,
                 Nelson Mullins Riley & Scarborough LLP,    101 Constitution Avenue, N.W.,      Suite 900,
                 Washington, DC 20001-2133
14759793        EDI: BANKAMER.COM Mar 15 2019 07:23:00      Bank of America,     PO 982238,
                 El Paso, TX 79998-0000
14759794       +EDI: TSYS2.COM Mar 15 2019 07:23:00      Barclays Bank Delaware,     PO 8803,
                 Wilmington, DE 19899-8803
14759795       +E-mail/Text: bankruptcy@bbandt.com Mar 15 2019 04:01:02       Branch BB&T,     223 West Nash St.,
                 Wilson, NC 27893-3801
14759796       +EDI: CAPITALONE.COM Mar 15 2019 07:23:00      Capital One Bank USA NA,      PO 30281,
                 Salt Lake City, UT 84130-0281
14759797       +EDI: CHASE.COM Mar 15 2019 07:23:00      Chase Card,   PO 15298,     Wilmington, DE 19850-5298
14759799       +EDI: TSYS2.COM Mar 15 2019 07:23:00      DSNB/ MACYS,    PO 8218,    Mason, OH 45040-8218
14759800       +E-mail/Text: ustpregion04.ax.ecf@usdoj.gov Mar 15 2019 04:01:29        Office of the US Trustee,
                 115 S. Union St. Suite 206,    Alexandria, VA 22314-3361
14759802       +EDI: RMSC.COM Mar 15 2019 07:23:00      SYNCB/ SCORERWARM SDC,     PO 965005,
                 Orlando, FL 32896-5005
14759803       +EDI: RMSC.COM Mar 15 2019 07:23:00      SYNCB/TJX CO DC,    PO 965015,    Orlando, FL 32896-5015
14759804       +EDI: RMSC.COM Mar 15 2019 07:23:00      SYNCB/WALMART DUAL CARD,     PO 965024,
                 Orlando, FL 32896-5024
14759805       +EDI: CITICORP.COM Mar 15 2019 07:23:00      The Home Depot/ CBNA,     PO 6497,
                 Sioux Falls, SD 57117-6497
14759806        EDI: USBANKARS.COM Mar 15 2019 07:23:00      US BANK,    PO 108,    Saint Louis, MO 63166-0000
                                                                                                TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 16, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 14, 2019 at the address(es) listed below:
              H. Jason Gold    jason.gold@nelsonmullins.com,
               VA19@ecfcbis.com;jgold@ecf.epiqsystems.com;hjg@trustesolutions.net;robert.ours@nelsonmullins.com;
               lori.stewart@nelsonmullins.com
              John P. Fitzgerald, III    ustpregion04.ax.ecf@usdoj.gov
              Wayne P. Yessler    on behalf of Debtor Ho Joon Kye wpylaw@peoplepc.com
                                                                                            TOTAL: 3
